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Attorneys for Plaintiff Federal Trade Commission

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



  FEDERAL TRADE COMMISSION,
                                                    Case No. 24-cv-6635
     Plaintiff,

         v.                                         SECOND AMENDED COMPLAINT
                                                    FOR PERMANENT INJUNCTION,
  THEFBAMACHINE INC., a corporation;                MONETARY JUDGMENT, AND
                                                    OTHER RELIEF
  PASSIVE SCALING INC., a corporation;

  SALES.SUPPORT NEW JERSEY INC., a
  corporation;

  1HR DELIVERIES INC., a corporation;

  HOURLY RELIEF INC., a corporation;

  3PL LOGISTIC AUTOMATION INC., a
  corporation;

  FBA SUPPORT NJ CORP., a corporation;

  DAILY DISTRO LLC, a limited liability
  company;

  CLOSTER GREEN CORP., doing business as
  WRAITH & CO., a corporation; and

  BRATISLAV ROZENFELD, also known as
  Steven Rozenfeld and Steven Rozen, individually
  and as an officer or owner of THEFBAMACHINE


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  INC.; PASSIVE SCALING INC.;
  SALES.SUPPORT NEW JERSEY INC.; 1HR
  DELIVERIES INC.; HOURLY RELIEF INC.;
  3PL LOGISTIC AUTOMATION INC.; FBA
  SUPPORT NJ CORP.; DAILY DISTRO LLC; and
  CLOSTER GREEN CORP., doing business as
  WRAITH & CO.,

    Defendants, and

  AMANDA ROZENFELD, also known as Amanda
  Peremen and Amanada Peremen, individually,

    Relief Defendant.



       Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), for its Complaint

alleges:

  1. The FTC brings this action for Defendants’ violations of Section 5(a) of the FTC Act, 15

     U.S.C. § 45(a); the FTC’s Trade Regulation Rule entitled “Disclosure Requirements and

     Prohibitions Concerning Business Opportunities” (“Business Opportunity Rule” or

     “Rule”), 16 C.F.R. Part 437, as amended; and the Consumer Review Fairness Act

     (“CRFA”), 15 U.S.C. § 45b. For these violations, the FTC seeks relief, including a

     temporary, preliminary, and permanent injunction; monetary relief; and other relief,

     including an asset freeze, appointment of a receiver, and immediate access to Defendants’

     business premises, pursuant to Sections 13(b) and 19 of the FTC Act, 15 U.S.C. §§ 53(b),

     57b; the Business Opportunity Rule; and the CRFA.

                                 SUMMARY OF THE CASE

  2. Defendants use deceptive earnings claims to convince consumers to shell out tens of

     thousands of dollars each to invest in what Defendants claim is a surefire business

     opportunity powered by artificial intelligence (“AI”). Defendants claim consumers will



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     quickly earn thousands of dollars in passive income, which will be generated from sales in

     online stores on e-commerce platforms such as Amazon.com and Walmart.com. In reality,

     the promised gains never materialize, and consumers are left with depleted bank accounts

     and hefty credit card bills. Defendants’ scheme has defrauded consumers of at least

     $15.9 million.

  3. Defendants called one version of their operation “Passive Scaling” and promised

     consumers that they could make six figures per year and more in income by investing their

     hard-earned money with Passive Scaling. When Passive Scaling failed to live up to its

     promises and consumers sought refunds and brought lawsuits, Defendants rebranded as

     “FBA Machine” and repeated the scam anew.

  4. Defendants consistently make false or unsubstantiated earnings claims in their marketing.

     They also use contracts with illegal non-disparagement clauses and wield them to cajole or

     threaten consumers who share their honest reviews of the company online into taking the

     comments down. Further, Defendants often condition refunds on consumers removing or

     withdrawing any complaints about the company.

                                JURISDICTION AND VENUE

  5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a), and

     1345.

  6. Venue is proper in this District under 28 U.S.C. § 1391(b)(1), (b)(2), and (c)(2), and 15

     U.S.C. § 53(b).

                                          PLAINTIFF

  7. The FTC is an independent agency of the United States Government created by the FTC

     Act, which authorizes the FTC to commence this district court civil action by its own

     attorneys. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the FTC Act, 15


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     U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or affecting

     commerce. The FTC also enforces the Business Opportunity Rule, 16 C.F.R. Part 437,

     which requires sellers to provide disclosure documents and prohibits false or

     unsubstantiated earnings claims. The FTC also enforces the CRFA, 15 U.S.C. § 45b(a)(2),

     which prohibits standardized provisions that threaten or penalize people for posting honest

     reviews.

                                        DEFENDANTS

  8. Led by individual defendant Bratislav Rozenfeld, the nine corporate defendants have

     worked together to conduct the law violations described below.

                                     Corporate Defendants

  9. Defendant TheFBAMachine Inc. (“FBA Machine”) is a New Jersey and Delaware

     corporation with its principal place of business at 78 John Miller Way, Suite 2111, Kearny,

     New Jersey 07032. FBA Machine transacts or has transacted business in this District and

     throughout the United States. At times relevant to this Complaint, acting alone or in concert

     with others, FBA Machine has advertised, marketed, distributed, or sold e-commerce

     automation business opportunities and coaching to consumers throughout the United States.

  10. Defendant Passive Scaling Inc. (“Passive Scaling”) is or was a New Jersey corporation

     with its principal place of business at 78 John Miller Way, Suite 2111, Kearney, New

     Jersey 07032. Passive Scaling transacts or has transacted business in this District and

     throughout the United States. At times relevant to this Complaint, acting alone or in concert

     with others, Passive Scaling has advertised, marketed, distributed, or sold e-commerce

     automation business opportunities and coaching to consumers throughout the United States.

  11. Defendant Sales.Support New Jersey Inc. (“Sales Support”) is a New Jersey corporation

     with its principal place of business at 78 John Miller Way, Suite 2111, Kearney, New


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     Jersey 07032. Sales Support transacts or has transacted business in this District and

     throughout the United States. At times relevant to this Complaint, acting alone or in concert

     with others, Sales Support has advertised, marketed, distributed, or sold e-commerce store

     management software to consumers throughout the United States, including consumers

     who purchased the Passive Scaling and FBA Machine business opportunities.

  12. Defendant 1HR Deliveries Inc. (“1HR”) is a New Jersey corporation with its principal

     place of business at 78 John Miller Way, Suite 2111, Kearney, New Jersey 07032. 1HR

     transacts or has transacted business in this District and throughout the United States. At

     times relevant to this Complaint, acting alone or in concert with others, 1HR has

     advertised, marketed, distributed, or sold inventory purchasing services to consumers

     throughout the United States, including consumers who purchased the Passive Scaling and

     FBA Machine business opportunities.

  13. Defendant Hourly Relief Inc. (“Hourly Relief”) is a New Jersey corporation with its

     principal place of business at a residential address in Edgewater, New Jersey 07020 (“the

     Edgewater, New Jersey address”). Hourly Relief transacts or has transacted business in this

     District and throughout the United States. At times relevant to this Complaint, acting alone

     or in concert with others, Hourly Relief advertised, marketed, distributed, or sold virtual

     assistant services, including e-commerce store management services, to consumers

     throughout the United States, including consumers who purchased the Passive Scaling and

     FBA Machine business opportunities.

  14. Defendant 3PL Logistic Automation Inc. (“3PL”) is a New Jersey corporation with its

     principal place of business at 78 John Miller Way, Suite 2111, Kearney, New Jersey 07032.

     3PL transacts or has transacted business in this District and throughout the United States.

     At times relevant to this Complaint, acting alone or in concert with others, 3PL has


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     advertised, marketed, distributed, or sold product processing and shipping services to

     consumers throughout the United States, including consumers who purchased the Passive

     Scaling and FBA Machine business opportunities.

  15. Defendant FBA Support NJ Corp. (“FBA Support NJ”) is a New Jersey corporation with

     its principal place of business at 78 John Miller Way, Suite 2111, Kearney, New Jersey

     07032. FBA Support NJ transacts or has transacted business in this District and throughout

     the United States. At times relevant to this Complaint, acting alone or in concert with

     others, FBA Support NJ has advertised, marketed, distributed, or sold warehousing and

     order fulfillment services for e-commerce businesses to consumers throughout the United

     States, including consumers who purchased the Passive Scaling and FBA Machine business

     opportunities.

  16. Defendant Daily Distro LLC (“Daily Distro”) is a New York corporation with its principal

     place of business at 78 John Miller Way, Suite 2111, Kearney, New Jersey 07032. Daily

     Distro transacts or has transacted business in this District and throughout the United States.

     At times relevant to this Complaint, acting alone or in concert with others, Daily Distro has

     advertised, marketed, distributed, or sold wholesale distribution services to consumers

     throughout the United States, including consumers who purchased the Passive Scaling and

     FBA Machine business opportunities.

  17. Defendant Closter Green Corp., doing business as Wraith & Co. (“Wraith”), is a New

     York corporation with its principal place of business at 3616 29th Street, Long Island City,

     New York 11106. Wraith transacts or has transacted business in this District and

     throughout the United States. At times relevant to this Complaint, acting alone or in concert

     with others, Wraith has advertised, marketed, distributed, or sold goods in online e-

     commerce stores to consumers throughout the United States.


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                                        Individual Defendant

  18. Defendant Bratislav Rozenfeld, also known as Steven Rozenfeld and Steven Rozen

       (“Rozenfeld”), is the owner of FBA Machine; president of Passive Scaling, Sales Support,

       1HR, 3PL, and FBA Support NJ; director of Hourly Relief; sole member of Daily Distro;

       and majority owner and chief technology officer of Wraith.

   •    He is the signatory on bank accounts for all Corporate Defendants, and he also registered

        and paid for each company’s corporate internet domain.

   •    He narrated marketing videos containing false or unsubstantiated earnings claims for

        Passive Scaling and FBA Machine.

   •    He has signed consumer contracts containing non-disparagement clauses on behalf of

        Passive Scaling.

   •    He knows about consumer complaints against—and requests for refunds from—Passive

        Scaling.

   •    He knows that e-commerce stores belonging to Passive Scaling customers have been

        suspended or terminated.

   •    He has negotiated settlements with Passive Scaling customers, including settlements that

        contain non-disparagement clauses.

   •    He has threatened customers, demanding that they withdraw complaints and remove

        online reviews as a condition of obtaining a refund from Passive Scaling, and then

        subsequently failed to pay the promised refunds.

   •    He has been sued by Passive Scaling customers and has defaulted on court-ordered

        judgments.

  19. At all times relevant to this Complaint, acting alone or in concert with others, he has

       formulated, directed, controlled, had the authority to control, or participated in the acts and

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       practices of FBA Machine, Passive Scaling, Sales Support, 1HR, Hourly Relief, 3PL, FBA

       Support NJ, Daily Distro, and Wraith, including the acts and practices described in this

       Complaint. Rozenfeld resides in Florida and, in connection with the matters alleged herein,

       transacts or has transacted business in this District and throughout the United States.

       Through his direct participation in, and control over, FBA Machine, Passive Scaling, Sales

       Support, 1HR, Hourly Relief, 3PL, FBA Support NJ, Daily Distro, and Wraith, Rozenfeld

       has knowledge of the acts and practices constituting the violations alleged herein.

                                           Relief Defendant

  20. Relief Defendant Amanda Rozenfeld, also known as Amanda Peremen and Amanada

       Peremen (“Peremen” or “Relief Defendant”), resides in Florida and is married to

       Rozenfeld. Peremen received a salary from Daily Distro, despite not performing any work

       for the company. She received funds that can be traced directly to Defendants’ unlawful

       acts or practices alleged herein, and she has no legitimate claim to those funds.

                                    COMMON ENTERPRISE

  21. Defendants FBA Machine, Passive Scaling, Sales Support, 1HR, Hourly Relief, 3PL, FBA

       Support NJ, Daily Distro, and Wraith (collectively, “Corporate Defendants”) have operated

       as a common enterprise while engaging in the deceptive and unfair acts and practices and

       other violations of law alleged below. Corporate Defendants have conducted the business

       practices described below through an interrelated network of companies that have common

       ownership, business functions, employees, and office locations, and that commingled

       funds.

   •    Rozenfeld owns and operates all Corporate Defendants.

   •    Rozenfeld is a signatory on bank accounts of all Corporate Defendants, and registered

        and pays for internet domains for all Corporate Defendants.


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   •   All but one of Corporate Defendants use one or both of two addresses—78 John Miller

       Way, Suite 2111, in Kearney, New Jersey, or the residential Edgewater, New Jersey

       address.

   •   FBA Machine, Passive Scaling, Sales Support, Hourly Relief, and Daily Distro are

       named as secondary users on the e-commerce stores of Passive Scaling and FBA

       Machine clients, which allows FBA Machine, Passive Scaling, Sales Support, Hourly

       Relief, and Daily Distro to access and manage clients’ stores.

   •   Rozenfeld’s own e-commerce store on Amazon.com is registered under Wraith, and

       Sales Support and Wraith are named as secondary users on the store.

   •   Prospective purchasers and clients of the Passive Scaling business opportunity interacted

       with employees using email addresses or contact information affiliated with Passive

       Scaling, Sales Support, 3PL, 1HR, Hourly Relief, and Daily Distro.

   •   Rozenfeld communicated with Passive Scaling clients using email addresses affiliated

       with Passive Scaling, Sales Support, Daily Distro, and Wraith.

   •   FBA Machine sales agents use a Wraith Google account to store scripts and recordings of

       consumer sales calls.

   •   Passive Scaling and FBA Machine require clients to use and pay for software offered and

       sold by Sales Support for their e-commerce stores.

   •   1HR purchased inventory for the e-commerce stores of Passive Scaling clients.

   •   Hourly Relief hired virtual assistants to manage the e-commerce stores of Passive Scaling

       clients.

   •   3PL processes and ships products on behalf of Passive Scaling clients’ e-commerce

       stores.

   •   Rozenfeld told Passive Scaling clients who sought a refund that he would pay the refund

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         from 3PL’s bank account.

    •    FBA Support NJ and Daily Distro provide warehousing, distribution, and order

         fulfillment services to Passive Scaling clients.

    •    FBA Support NJ receives money from Sales Support and 1HR, and pays FBA Machine

         sales agents’ salaries.

    •    FBA Machine and Passive Scaling sell similar e-commerce automation business

         opportunities and coaching materials, and they share the same or substantially similar

         advertising and marketing materials.

    •    FBA Machine, Passive Scaling, Sales Support, 1HR, Hourly Relief, 3PL, FBA Support

         NJ, and Daily Distro have commingled funds.

  22. Because the Corporate Defendants, under Rozenfeld’s direction, have operated as a

        common enterprise, each of them is liable for the acts and practices alleged below.

                                            COMMERCE

  23. At all times relevant to this Complaint, Defendants have maintained a substantial course of

        trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act, 15

        U.S.C. § 44.

                            DEFENDANTS’ BUSINESS ACTIVITIES

                            PREQUEL: DAILY DISTRO AND FBA SUPPORT

  24. From 2017 until early 2021, Rozenfeld operated Daily Distro, which he incorporated on

        September 14, 2017, along with FBA Support, a New York entity. These entities contracted

        with other e-commerce management companies to provide store management software

        called sales.support, store merchandise, and a warehouse for inventory. Daily Distro and

        FBA Support charged these other e-commerce management companies and clients directly

        for the software and inventory.


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  25. In early 2020 and early 2021, the payment processor Rozenfeld used to process payments

     received by Daily Distro and FBA Support shut down several accounts used for this

     processing, after notifying Rozenfeld of high chargebacks and customer disputes on the

     accounts.

  26. In June 2021, one of FBA Support’s e-commerce management company partners sued FBA

     Support and Rozenfeld in federal district court in the District of New Jersey, No. 21-CV-

     12047, alleging that they falsely promised to manage Amazon e-commerce stores for

     clients, source high-margin and trending products, store and process inventory in their

     warehouse, and use their purported hundreds of employees and decades of experience to

     deliver professional ecommerce services. FBA Support appears to have ceased operations.

                   THE PASSIVE SCALING BUSINESS OPPORTUNITY SCHEME

  27. Beginning in approximately February 2021, Rozenfeld began marketing e-commerce

     business opportunities through Passive Scaling, an entity Rozenfeld incorporated on

     February 8, 2021. Consumers who purchased the e-commerce business opportunity became

     the clients for various services provided by Defendants.

  28. Passive Scaling used two different models for the e-commerce stores it sold to consumers.

     For stores on the Walmart.com platform, Passive Scaling used the “fulfilled by merchant”

     model, also known as dropshipping. In this model, when a customer orders an item from a

     Passive Scaling client’s e-commerce store on Walmart.com, Passive Scaling workers then

     buy the item on Amazon.com or from another retailer and ship it directly (or repackage

     first and then ship) to the customer, reselling the product for a small profit based on the

     price difference.

  29. For stores on the Amazon platform, Passive Scaling used the dropshipping model along

     with another model called “fulfilled by Amazon” (“FBA”). In this model, Passive Scaling


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     clients purchase inventory and store it in Passive Scaling’s warehouses. When orders are

     placed on the client’s Amazon store, Passive Scaling would be responsible for packaging

     and shipping those items to Amazon for fulfillment to the purchaser.

                 Advertisements for the Passive Scaling Business Opportunity

  30. Rozenfeld advertised the Passive Scaling business opportunity online, including through

     Instagram under the handle kingofamzn and on Passive Scaling’s website,

     passivescaling.com.

  31. Passive Scaling’s website claimed that the company had been in business for over seven

     years, with over 800 “[a]ctive automation clients,” seven warehouses, and more than 120

     employees in six countries. The site stated that Passive Scaling would “build you a fully

     automated Walmart store from the ground up and use our expertise to manage it into a

     successful 7 figure business.”

  32. Passive Scaling’s website boasted that “Most of our clients hit six-figure monthly revenues

     within 12-16 months,” and “[o]ur most successful clients generate over $100,000 per

     month in profit!” The website also featured enticing client testimonials, such as “I went

     from struggling to pay bills to being financially independent in a span of 5 months,” and

     statistics, such as “$275,000 average profit in the first two years.”

  33. The website also included graphs claiming to show the revenue of Passive Scaling clients,

     as in the screenshot below:




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  34. In its earnings claims made through general media, including the examples above from

     Passive Scaling’s website, Passive Scaling failed to include information required by the

     Business Opportunity Rule, namely the beginning and ending dates when represented

     earnings were achieved and the number and percentage of all persons who purchased

     Passive Scaling’s business opportunity prior to that ending date who achieved at least the

     stated level of earnings.

  35. Passive Scaling also partnered with an Irvine, California-based company called Optimyze

     Digital (“Optimyze”) to handle sales and marketing of the Passive Scaling business

     opportunity until approximately mid-2022. (Optimyze appears to have ceased operations.)

     In conversations with prospective purchasers, Optimyze representatives described

     Optimyze as a sister company of Passive Scaling and pointed consumers to online videos

     where Rozenfeld and representatives of Optimyze describe themselves as partners.

  36. Optimyze advertised the Passive Scaling business opportunity online, including through

     Facebook and Instagram. Some prospective purchasers did not know, until they received a

     contract, that they would be working with Passive Scaling, not Optimyze, to set up and run

     their e-commerce stores.

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    Representations to Prospective Purchasers of the Passive Scaling Business Opportunity

  37. Once prospective purchasers connected with an Optimyze sales agent, Optimyze lured

     them in by showing them profit calculator spreadsheets; hosting question-and-answer

     sessions with the owners of Optimyze, which included interviews of purported current

     clients; and sending prospective purchasers links to videos showing Rozenfeld at his

     warehouse.

  38. The profit calculator that Optimyze representatives showed prospective purchasers set out

     what they could expect to make in twenty-four months, given the number and type of stores

     they purchased and the amount of “working capital” the consumers had available to use to

     purchase inventory for the stores. For example, as shown in the image below, Optimyze

     represented that, by purchasing a single Amazon store from Passive Scaling and having

     $35,000 of working capital available for inventory, a prospective purchaser should expect

     to make over $200,000 in profit after two years.




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  39. Rozenfeld and Passive Scaling sales agents also showed consumers the same profit

     calculator.

  40. In a YouTube video filmed at Rozenfeld’s warehouse and shared in an email to prospective

     Passive Scaling purchasers, viewers see several luxury cars leave Optimyze’s offices and

     arrive at a warehouse, where Rozenfeld warmly greets them. He proceeds to give them a

     tour of the warehouse, showing them items he says “are selling on a constant basis.” He

     explains that the warehouse receives shipments of goods, and workers “prepare [the items]

     as per Amazon’s prep requirements” and ship them to Amazon. Rozenfeld remarks that he

     is “happy to be on board with this [Optimyze Digital] team.”

  41. Rozenfeld himself told potential purchasers that they could expect to earn a few thousand

     dollars every month by purchasing the Passive Scaling business opportunity, and even

     more if they opened additional e-commerce stores.

  42. Optimyze and Passive Scaling told prospective purchasers that Passive Scaling employees

     would handle the day-to-day operations of the e-commerce stores and the vast majority of

     the work. Passive Scaling would share the profits from the store with the client, whose

     main role was investing. The opportunity was presented as a substantial source of passive

     income for potential purchasers. In addition to the initial investment and monthly fees,

     Passive Scaling required clients to establish bank accounts or obtain credit cards or loans

     allowing access to no less than $15,000, which would be used to pay for the inventory

     purchased to fulfill store orders. Thus, in addition to paying tens or even hundreds of

     thousands of dollars in initial fees to Passive Scaling, prospective purchasers also needed to

     borrow or provide thousands more dollars for their stores to operate.

  43. Throughout the sales process, Optimyze and Passive Scaling’s marketing videos, question-

     and-answer sessions shared with prospective Passive Scaling purchasers, and websites were


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        replete with earnings claims, such as:

    •     “$69,320 in last 7 days”

    •     “20% return on investment”

    •     “We are talking about five figures per month in pure profit!”

    •     “$1.3 million average gross revenue in first two years”

    •     “$100,600 in last 30 days”

  44. In addition to touting high monthly profits for both Amazon and Walmart stores established

        through Passive Scaling, a sales agent highlighted that the e-commerce store was a “risk

        free” opportunity. If the client did not earn back the initial investment fee, typically costing

        between $30,000 and $500,000, within eighteen months, the client could request a refund.

                                     The Passive Scaling Contracts

  45. Once prospective purchasers expressed interest, the Optimyze or Passive Scaling sales

        agents would provide a contract from Passive Scaling.

  46. The contract outlined Passive Scaling’s duties, including configuring storefronts; selecting,

        sourcing, and listing products; providing customer support; and providing general oversight

        of the store.

  47. It also outlined the fees prospective purchasers would pay for the business opportunity. In

        addition to an initial payment for the set-up of the stores, the amount of which was based

        on the number of stores purchased, the contracts required clients to pay ongoing fees to

        Passive Scaling and Sales Support. The fee to Passive Scaling, characterized as a

        “Management Fee,” was the greater of $199 per month or 35% of the store’s monthly net

        profits. Clients also paid a $99 per month “Software Fee” “directly to the software

        provider,” Sales Support, for the software used to run their e-commerce stores.

  48. Prospective purchasers were directed to wire their initial payments to a Passive Scaling

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     bank account.

  49. The Passive Scaling contract also contained the following non-disparagement clause:

               During this Agreement and for one (1) year thereafter, the Parties
               mutually agree that any issues or problems that either party has
               regarding the other with respect to this Agreement, shall be
               discussed with the other party in a professional and private manner.
               The Parties hereby mutually agree not to disparage, insult, or
               fabricate information regarding the other party in any online or
               offline forum or any other forum whatsoever, including but not
               limited to social media channels, regardless of whether such
               comments or information would not constitute libel or slander, and
               regardless of whether such comments could be deemed factually
               true.

  50. The Passive Scaling contracts also contained a refund clause that stated a client could

     receive a refund of their initial investment, less any net profit the client earned from their

     store, in certain instances, as discussed below.

  51. Neither Optimyze nor Passive Scaling ever provided prospective purchasers with a

     document substantiating the earnings and profit claims that the companies made: (1) in

     their advertisements; (2) in materials provided to prospective purchasers, including profit

     calculators and profit projection spreadsheets; or (3) by representatives communicating

     with the prospective purchaser. In addition, neither Optimyze nor Passive Scaling ever

     provided prospective purchasers with a list of purchasers and contact information of

     individuals who purchased the business opportunity within the last three years.

  52. Rozenfeld and FBA Support were sued for fraud and misrepresentations in 2021, and

     Passive Scaling was sued at least seven times between August 2022 and March 2024,

     including one lawsuit that named Rozenfeld individually. Yet neither Optimyze nor Passive

     Scaling ever provided prospective purchasers with a document, required under the Business

     Opportunity Rule, stating whether the companies, any of their prior or affiliate companies,

     or any of the companies’ officers or directors has been subject to civil or criminal action for


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     misrepresentation, fraud, securities law violations, or unfair or deceptive practices,

     including violations of any FTC rule, within the previous ten years.

                Rozenfeld’s Other Entities Further the Passive Scaling Scheme

  53. Rozenfeld filed the incorporation documents for Sales Support, 1HR, Hourly Relief, and

     3PL on February 8, 2021. He also incorporated FBA Support NJ on November 4, 2019, and

     Wraith on September 6, 2013. Rozenfeld used these corporate entities to further his

     operation of the Passive Scaling scheme.

  54. Passive Scaling clients paid a monthly $99 fee directly to Sales Support for the software

     Passive Scaling used to manage their e-commerce store accounts.

  55. Hourly Relief typically hired virtual assistants who purportedly managed the e-commerce

     stores.

  56. 1HR’s bank account was often used to pay payroll for the virtual assistants.

  57. Passive Scaling clients were told to purchase inventory through 1HR and FBA Support NJ,

     and 3PL was used for product warehousing and shipping.

  58. FBA Support and Daily Distro continued to purchase inventory and receive client

     payments for store inventory and monthly software subscriptions.

  59. Prospective purchasers and clients of Passive Scaling interacted with employees using

     email addresses or contact information affiliated with Passive Scaling, Sales Support,

     Hourly Relief, and Daily Distro.

  60. Email addresses associated with not only Passive Scaling but also Sales Support, Hourly

     Relief, and Daily Distro are named as secondary users on Passive Scaling clients’ e-

     commerce stores, allowing Passive Scaling, Sales Support, Hourly Relief, and Daily Distro

     to access and manage those stores.

  61. Sales Support and Wraith are named as secondary users on Rozenfeld’s own e-commerce


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     store on Amazon.com, which is registered under Wraith.

  62. Rozenfeld communicated with at least one Passive Scaling client using a Wraith email

     address.

  63. Clients were not told that Rozenfeld owned any of these companies and were led to believe

     they were separate entities.

             Consumers’ Experiences After Joining the Passive Scaling Operation

  64. After signing their contracts with Passive Scaling, clients often discovered that it took

     several months until their stores were operational, if they ever became operational at all.

     Even when clients’ stores were established and operating, the stores sold nowhere near the

     amount Optimyze and Passive Scaling represented they would before clients signed the

     contract, and many clients lost money.

  65. When clients asked questions or raised concerns with Passive Scaling about the operation

     of their stores, Passive Scaling representatives routinely ignored communications and failed

     to attend scheduled meetings or phone calls.

  66. Moreover, Amazon and Walmart suspended stores for violating dropshipping and

     intellectual property policies, making processing errors, and selling used items as new.

     Although Passive Scaling told its clients it was appealing these suspensions, the process

     often took several months, and many clients ultimately ended up with permanently

     terminated accounts.

  67. Defendants often instructed clients to pay for inventory on credit cards. Once an account is

     suspended by Amazon or Walmart, any earnings are locked. Thus, some of Defendants’

     clients were left with large amounts of credit card debt that they were unable to repay with

     earnings.

  68. Optimyze stopped working with Passive Scaling in approximately late spring of 2022 and


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      has apparently ceased operations.

 Earnings Claims for the Passive Scaling Business Opportunity Were False or Unsubstantiated

  69. For nearly two years, Passive Scaling advertised and marketed its online e-commerce

      automation business opportunities to consumers using the earnings claims described above.

  70. Even when clients’ stores were not suspended or terminated, they sold nowhere near the

      amount represented in Optimyze and Passive Scaling’s marketing. After taking into

      account the initial fee to Passive Scaling, ongoing fees to Amazon or Walmart, payments

      for inventory, refunds, credit card fees, and onboarding and operation costs, numerous

      Passive Scaling clients lost money. In other words, not only were clients out the money

      they paid Passive Scaling, but they also suffered further harm from the additional costs of

      operating the stores.

  71. Of the 461 known clients for whom Passive Scaling operated e-commerce stores on

      Amazon.com between February 2021 and March 2024, approximately 76% made $60,000

      or less in gross sales, which does not account for the cost of the products sold and does not

      include refunds or cancelled orders. In all or most cases, the costs for inventory and

      Defendants’ services consumed most, if not all, of the money Passive Scaling clients

      realized from their stores. Approximately 14% of clients’ stores had no sales at all.

                               Consumer Complaints and Lawsuits

  72. As the scheme continued, Passive Scaling was inundated with refund requests, complaints,

      and lawsuits. Rozenfeld knew about the refund requests, consumer complaints, and

      lawsuits, and he was involved in Passive Scaling’s responses.

  73. If Amazon or Walmart suspended or terminated a client’s account, rather than issuing a

      refund, Passive Scaling would often offer a replacement store on a different e-commerce

      platform. Rather than walking away and losing their hefty initial fee, clients typically opted


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     to try a different store. However, these new stores fared no better.

  74. The refund clause of Passive Scaling’s contract provides that clients can obtain a refund if

     they have not recouped their initial investment within eighteen months or if two of their

     stores are shut down through no fault of their own. Despite this clause, Passive Scaling

     made it exceedingly difficult to obtain a refund even when clients fulfilled the

     requirements. Clients were unable to reach their account managers by phone or email,

     managers failed to appear on video conferences and calls, and sporadic contact strung

     clients along for months.

  75. Around October 2023, Passive Scaling sent out an email newsletter regarding refund

     requests it had received. The message announced that “all refunds including active

     settlement agreements that were being conducted are currently on pause for the next 120

     days” because the company “received an overwhelming number of refund requests, and

     dues [sic] to varying factors most of which are outside of our direct control our finance

     team has been working tirelessly to process each request carefully.” The email stated that

     Passive Scaling planned to “issu[e] refunds from the monthly generated profits of current

     active clients.”

  76. One client who received this email newsletter was told, “Your first official refund request

     was submitted on [sic] August 2022 and this makes your request#13 [sic] in the second

     batch of pending settlements.”

  77. In November 2023, one client received an email from Passive Scaling that said, “we have

     started to provide clients with settlements [sic] these settlements are 50-70% of the initial

     amount paid.”

  78. Some clients received refunds, but Passive Scaling ignored many client refund requests,

     strung clients on for a long time without taking action, or promised to send a refund and


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     then failed to follow through on the promise.

  79. Sometimes Defendants entered into written settlement agreements with clients seeking a

     refund. According to such agreements, funds for negotiated settlements were to be paid

     from 3PL’s bank account. Many clients who executed such settlement agreements never

     received any refund, in violation of these agreements.

  80. Between August 2022 and March 2024, Passive Scaling was sued at least seven times by

     clients seeking the return of funds they had given Passive Scaling for its business

     opportunity.

             Defendants Conditioned Refunds on Removal of Online Complaints

  81. In connection with the Passive Scaling scheme, Defendants conditioned refunds on

     removal of online complaints, and threatened and intimidated clients who did not take

     down such complaints.

  82. For example, Passive Scaling sent an email to one client that said, “We would also like to

     take this opportunity to remind you of the clause in the contract that discusses the results of

     doing anything that can damage the company’s reputation. As per the agreement, the fine is

     upwards of 25000 plus legal fees. In light of this, we wanted to give you the opportunity to

     withdraw the complaint filed based on the fact that the company has paid what was due and

     also that you are aware that the details of the report were highly exaggerated.” The email

     asks the client to provide written proof of the withdrawal of the complaint and states that if

     she does not, Passive Scaling will sue her.

  83. One day after filing a BBB complaint, another client received an “official notice” via email

     from Passive Scaling that stated, “After reviewing the complaint in its entirety the company

     is proceeding to move forward with action against the [Passive Scaling client] for Blatant

     [sic] breach of the terms of the contract that was attached to the BBB complaint.” In the


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     email, Passive Scaling gave the client seven business days to remove the complaint.

  84. Rozenfeld specifically reinforced this position. Rozenfeld spoke on the phone with a client

     who asked for a refund. Rozenfeld told him that Rozenfeld knew the client had filed a

     complaint with the BBB, doing so was against the Passive Scaling contract the client

     signed because it was a harmful action against the company, and Passive Scaling could sue

     him. Rozenfeld asked several times for the client to remove the negative complaint and told

     him that, if he did, Rozenfeld would be willing to work out a resolution.

  85. Passive Scaling also required some clients to sign settlement agreements that included

     another non-disparagement clause. For example, one settlement agreement included the

     following clause:

                Client further agrees to leave no Bad Reviews (Meaning any post,
                public writing, message, statement, report or complaint that is
                derogatory or damages the reputation of Passive and its directors,
                officers, employees, subsidiaries, affiliates, agents, and
                representatives) against Passive and its directors, officers,
                employees, subsidiaries, affiliates, agents and representatives. If
                Client has already left a Bad Review, Client agrees to take it down
                within thirty (30) days of execution of this Agreement. Client
                acknowledges that the failure to meet its obligations under this
                section shall be deemed a default under this Agreement and Client
                would waive its rights and entitlement to payment from the
                Settlement Fund.

        PASSIVE SCALING REBRANDS AS THE FBA MACHINE BUSINESS OPPORTUNITY

  86. Around June 2023, while Passive Scaling was unable to meet the refund demands of large

     numbers of unhappy clients, Rozenfeld started hawking a new e-commerce automation

     business opportunity under the names FBA Machine and FBA Machine Accelerator

     Program.

  87. FBA Machine offers a “Done for You” program, where FBA Machine purports to do all

     the work of running a client’s e-commerce store. It also offers a “Done with You” program,



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     where the client purportedly learns how to run the business.

  88. FBA Machine describes its “Done for You” program, also called TheFBAMachine

     Accelerator Program, as a “partnership” between the company and the consumer, where

     FBA Machine is the CEO and the client is the investor. The program requires a $35,000

     initial payment to FBA Machine, along with a $99 monthly software fee for sales.support

     software. In addition, prospective purchasers are advised to have $40,000 to $50,000

     available for inventory. Under the agreement, FBA Machine receives 35% of the profit the

     online store earns.

  89. FBA Machine bills its “Done with You” program as an “MBA in Amazon” where the

     clients are CEOs and FBA Machine teaches and mentors them to build and run an e-

     commerce business. The “Done with You” program costs $16,000 plus a $99 monthly

     software fee. Clients of the “Done with You” program are not required to share their profits

     with FBA Machine, and FBA Machine guarantees it will generate $20,000 in revenue in 90

     days on the client’s e-commerce store or the company will work for free until the

     consumer’s e-commerce store generates $20,000 in revenue.

  90. With both the “Done for You” and “Done with You” models, FBA Machine claims that it

     will do “99% of the work.”

                 Advertisements for the FBA Machine Business Opportunity

  91. Rozenfeld is the face of the FBA Machine brand and markets the business opportunity on

     social media sites, including Facebook, Instagram, TikTok, and YouTube.

  92. On his Instagram account, Rozenfeld claims that he went from a struggling business owner

     to someone who had made over $120 million in sales on Amazon. He also says that his

     underrated business model helped him generate over $1 million per month in sales, open

     multiple warehouses, and help over 750 of his students to unlock consistent passive income


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     with Amazon. He claims that his step-by-step program can elevate any Amazon business to

     $10,000 per month in sales.

  93. In Facebook ads, Rozenfeld tells consumers that FBA Machine will launch, manage, and

     scale their clients’ Amazon stores and that the process is 100% automated. He also claims

     to transform Amazon businesses into a “profit-generating engine.”

  94. Rozenfeld claims on his Instagram page that he has a “transformative Amazon FBA

     strategy” and consumers can earn $5,000 to $10,000 per month. He shows himself on a

     boat and says that he quit his 9 to 5 job and started earning over $1 million per month with

     Amazon. He also talks about his “students” and how one student generated over $69,000 in

     one month by following Rozenfeld’s proven systems.

  95. Rozenfeld’s Instagram feed is also replete with images of him living a luxurious lifestyle,

     like exiting a Lamborghini sportscar and, as shown in the example below, flying first class

     while advertising a business that can “generate to [sic] $10K/month in sales from anywhere

     in the world”:




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  96. The FBA Machine website includes purported client testimonials that claim, “Thanks to my

     Amazon store, I was able to pay off my mortgage and now I finally own a house. . . . They

     grew my Amazon store in a matter of a couple of months. . . . after just two months I

     started to see some big numbers” and “thanks to the team, I have enough money to travel

     the world.” It also includes the same graphics from the Passive Scaling website, including a

     screenshot of an Amazon store that made $100,600 in sales in the last 30 days, as shown

     below:




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  97. In their earnings claims made through general media, including the examples from

     Defendants’ websites and social media feeds described above, Defendants failed to include

     information required by the Business Opportunity Rule, namely the beginning and ending

     dates when represented earnings were achieved and the number and percentage of all

     persons who purchased Defendants’ business opportunity prior to that ending date who

     achieved at least the stated level of earnings.

  98. FBA Machine also claims to incorporate AI software and an “AI[-]Powered Repricing

     Tool” in its fully automated processes for managing clients’ stores.

    Representations to Prospective Purchasers of the FBA Machine Business Opportunity

  99. When consumers reach out to FBA Machine, they receive a slide deck explaining the

     business opportunity.

  100. The slide deck includes industry financial, earnings, or performance information about e-

     commerce sales on Amazon.com. For example, the slide deck states that nearly 60% of

     units sold on Amazon.com come from third-party sellers, the average annual revenue for

     such sellers is approximately $160,000, and “55% make more than $5000 per month in

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     sales.” The industry performance information contained in the slide deck exceeds, or does

     not reflect, the performance experience of typical purchasers of the FBA Machine business

     opportunity.

  101. The slide deck boasts that Rozenfeld, creator of the FBA Machine Accelerator Program,

     has nine years of experience in Amazon wholesaling, “[h]elped manage and oversee over

     $120m lifetime sale [sic] on Amazon,” and “[a]ssisted more than 200 clients unlock [sic] a

     consistent passive income on Amazon.”

  102. During sales calls, FBA Machine representatives identify Rozenfeld as the CEO of FBA

     Machine and say that he will manage clients’ stores.

  103. One sales agent said that FBA Machine clients are seeing a 20 to 30% return on their

     investment. Another stated, regarding the “Done with You” model, that “the guarantee is

     we need to get your store to 20K in revenue, so $20,000, in those 90 days or—or we pretty

     much have to keep working until we get there.” The same FBA Machine representative

     claimed, “we have clients making 10K months. We have clients making $100,000 a month.

     We have a client making a million dollars a month in profit.”

  104. FBA Machine uses a profit projection spreadsheet, shown below, similar to the one

     Passive Scaling showed to its prospective purchasers.




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                                 The FBA Machine Contracts

  105. Like the Passive Scaling contract, the contracts for both the FBA Machine’s “Done for

     You” and “Done with You” programs outline FBA Machine’s duties, including configuring

     storefronts; selecting, sourcing, and listing products; and operating and providing general

     oversight of the store.

  106. The FBA Machine contract for the “Done for You” program also contains the following

     non-disparagement clause, which is identical to the non-disparagement clause used in the

     Passive Scaling contract:

              During this Agreement and for one (1) year thereafter, the Parties
              mutually agree that any issues or problems that either party has
              regarding the other with respect to this Agreement, shall be
              discussed with the other party in a professional and private manner.
              The Parties hereby mutually agree not to disparage, insult, or
              fabricate information regarding the other party in any online or
              offline forum or any other forum whatsoever, including but not
              limited to social media channels, regardless of whether such
              comments or information would not constitute libel or slander, and
              regardless of whether such comments could be deemed factually

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              true.

  107. FBA Machine does not provide prospective purchasers with a document substantiating

     the earnings and profit claims made: (1) in its advertisements; (2) in any materials provided

     to prospective purchasers, including profit calculators and profit projection spreadsheets; or

     (3) by representatives communicating with the prospective purchaser. In addition, FBA

     Machine does not provide prospective purchasers with a list of purchasers and contact

     information of individuals who purchased the business opportunity within the last three

     years.

  108. Although Passive Scaling, FBA Machine’s predecessor, has been sued at least seven

     times, and Rozenfeld has been sued individually at least twice in conjunction with the FBA

     Support and Passive Scaling schemes, FBA Machine does not provide prospective

     purchasers with a document stating whether the company, any of its prior or affiliate

     companies, or any of the company’s officers or directors has been subject to civil or

     criminal action for misrepresentation, fraud, securities law violations, or unfair or deceptive

     practices, including violations of any FTC rule, within the previous ten years.

                Rozenfeld’s Other Entities Further the FBA Machine Scheme

  109. Rozenfeld uses the other Corporate Defendants to further his operation of the FBA

     Machine scheme.

  110. Purchasers of the FBA Machine business opportunity must purchase the Sales Support

     software for their e-commerce stores.

  111. 3PL provides automated warehousing services to purchasers of the FBA Machine

     business opportunity.

  112. FBA Support NJ pays for FBA Machine sales agents’ salaries.

  113. Email addresses associated with not only FBA Machine but also Passive Scaling, Sales


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     Support, and Hourly Relief are named as secondary users on FBA Machine clients’ e-

     commerce stores, allowing FBA Machine, Passive Scaling, Sales Support, and Hourly

     Relief to access and manage those stores.

  114. FBA Machine sales agents use a Wraith Google account to store scripts and recordings of

     consumer sales calls.

  115. Daily Distro provides warehousing, packing, and shipping services to FBA Machine

     clients.

  Earnings Claims for the FBA Machine Business Opportunity Are False or Unsubstantiated

  116. Rozenfeld continues to market the FBA Machine business opportunity based at least in

     part on his purported success in creating profitable e-commerce automation stores for

     others through Passive Scaling.

  117. Of the 42 known clients for whom FBA Machine operated e-commerce stores on

     Amazon.com between February 2021 and March 2024, approximately 86% had gross

     aggregated sales of $15,000 or less, which does not account for the cost of the products

     sold or include refunds or cancelled orders. In all or most cases, the costs for inventory and

     Defendants’ services consumed most, if not all, of the money FBA Machine clients realized

     from their stores. Approximately 12% of FBA Machine clients’ stores had no sales at all.

  118. Based on the facts and violations of law alleged in this Complaint, the FTC has reason to

     believe that Defendants are violating or are about to violate laws enforced by the

     Commission because, among other things: Defendants engaged in their unlawful acts or

     practices over a period of at least three years, Defendants engaged in their unlawful acts or

     practices knowingly, Defendants earned at least $11.1 million from participating in these

     unlawful acts or practices, and Defendants not only continued their unlawful acts or

     practices despite knowledge of numerous complaints and lawsuits, but shut down and


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     relaunched under a new name running the same unlawful scheme.

                              VIOLATIONS OF THE FTC ACT

  119. Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts or

     practices in or affecting commerce.”

  120. Misrepresentations or deceptive omissions of material fact constitute deceptive acts or

     practices prohibited by Section 5(a) of the FTC Act.

  121. Acts or practices are unfair under Section 5 of the FTC Act if they cause or are likely to

     cause substantial injury to consumers that consumers cannot reasonably avoid themselves

     and that is not outweighed by countervailing benefits to consumers or competition. 15

     U.S.C. § 45(n).

                                            COUNT I

                          False or Unsubstantiated Earnings Claims

  122. In numerous instances in connection with the advertising, marketing, promotion, offering

     for sale, or sale of Defendants’ business opportunities and e-commerce automation training

     programs, Defendants represent, directly or indirectly, expressly or by implication, that

     purchasers of Defendants’ business opportunities and e-commerce automation training

     programs are likely to earn substantial income.

  123. Defendants’ representations as described in paragraph 122 are false or misleading or were

     not substantiated at the time the representations were made.

  124. Therefore, Defendants’ representations as described in paragraph 122 constitute a

     deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                            COUNT II

                                            Unfairness

  125. In numerous instances, Defendants have used tactics including threats, intimidation, and


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     non-disparagement contract clauses to discourage purchasers from speaking or publishing

     truthful or non-defamatory comments or reviews about Defendants and their services.

  126. Defendants’ acts or practices cause or are likely to cause substantial injury to consumers

     that consumers cannot reasonably avoid themselves and that is not outweighed by

     countervailing benefits to consumers or competition.

  127. Therefore, Defendants’ acts or practices as described in paragraph 125 constitute unfair

     acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45(a), (n).

                VIOLATIONS OF THE BUSINESS OPPORTUNITY RULE

  128. The amended Business Opportunity Rule, 16 C.F.R. Part 437, which was extended in

     scope to cover certain work-at-home opportunities, became effective on March 1, 2012,

     and has since that date remained in full force and effect.

  129. Defendants are “sellers” who, as described in paragraphs 24 to 118, have sold or offered

     to sell “business opportunities” as defined by the Business Opportunity Rule, 16 C.F.R.

     § 437.1(c) and (q). Under the Business Opportunity Rule, a “seller” is a person who offers

     for sale or sells a business opportunity. 16 C.F.R. § 437.1(q). Under the Rule, a “business

     opportunity” means a “commercial arrangement” in which a “seller solicits a prospective

     purchaser to enter into a new business;” the “prospective purchaser makes a required

     payment;” and the “seller, expressly or by implication, orally or in writing, represents that

     the seller or one or more designated persons will . . . [p]rovide outlets, accounts, or

     customers, including, but not limited to, Internet outlets, accounts, or customers, for the

     purchaser’s goods or services[.]” 16 C.F.R. § 437.1(c).

  130. Among other things, the Business Opportunity Rule requires sellers to provide

     prospective purchasers with a disclosure document in the form and using the language set

     forth in the Business Opportunity Rule and its Appendix A, and any required attachments.


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     In the disclosure document, the seller must disclose to prospective purchasers five

     categories of information, including: basic identifying information about the seller, any

     earnings claims the seller makes, the seller’s litigation history, any cancellation and refund

     policy the seller offers, and contact information of prior purchasers. 16 C.F.R.

     § 437.3(a)(1)–(5). Furthermore, this information must be disclosed at least seven (7) days

     before the prospective purchaser signs a contract or makes a payment. 16 C.F.R. § 437.2.

     The pre-sale disclosure of this information enables a prospective purchaser to contact prior

     purchasers and take other steps to assess the potential risks involved in the purchase of the

     business opportunity.

  131. Defendants, as described in paragraphs 30 to 44 and 91 to 104, have made earnings

     claims in connection with the sale of their business opportunities, as defined by the

     Business Opportunity Rule, 16 C.F.R. § 437.1(f). Under the Business Opportunity Rule, an

     “earnings claim” means “any oral, written, or visual representation to a prospective

     purchaser that conveys, expressly or by implication, a specific level or range of actual

     potential sales, or gross or net income or profits.” 16 C.F.R. § 437.1(f).

  132. The Business Opportunity Rule prohibits sellers from making earnings claims unless the

     seller: (1) has a reasonable basis for the claim at the time it is made; (2) has in its

     possession written materials to substantiate the claim at the time it is made; (3) furnishes an

     earnings claim statement to prospective purchasers in conjunction with the disclosure

     document, containing, among other things, information regarding the time frame captured

     by the earnings claim, the characteristics of the purchasers, and the number and percentage

     of all persons who purchased the business opportunity within the time frame who achieved

     at least the stated level of earnings; and (4) makes written substantiation of the earnings

     claim available to any prospective purchaser who requests it. 16 C.F.R. § 437.4(a).


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  133. Defendants have also made earnings claims in connection with the sale of their business

     opportunities in the general media, as defined by the Business Opportunity Rule, 16 C.F.R.

     § 437.1(h). Under the Business Opportunity Rule, “general media” means “any

     instrumentality through which a person may communicate with the public, including, but

     not limited to, television, radio, print, Internet, billboard, Web site, commercial bulk email,

     and mobile communications.” 16 C.F.R. § 437.1(h).

  134. The Business Opportunity Rule prohibits sellers from making earnings claims in the

     general media unless the seller has a reasonable basis for and written substantiation of any

     earnings claims and states in immediate conjunction with those claims the beginning and

     ending dates when the represented earnings were achieved, and the number and percentage

     of all persons who purchased Defendants’ business opportunity prior to that ending date

     who achieved at least the stated level of earnings. 16 C.F.R. § 437.4(b).

  135. Defendants, as described in paragraph 100, have disseminated industry financial,

     earnings, or performance information in connection with the offering for sale, sale, or

     promotion of a business opportunity.

  136. The Business Opportunity Rule prohibits sellers from disseminating industry financial,

     earnings, or performance information unless the seller has written substantiation

     demonstrating that the information reflects, or does not exceed, the typical or ordinary

     financial earnings, or performance experience of purchasers of the business opportunity

     being offered for sale. 16 C.F.R. § 437.4(c).

  137. Pursuant to Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the

     Business Opportunity Rule constitutes an unfair or deceptive act or practice in or affecting

     commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).




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                                          COUNT III

                       Misrepresentations Regarding Income or Profits

  138. In numerous instances in connection with the offer for sale, sale, or promotion of

     business opportunities, Defendants have misrepresented the amount of sales, or gross or net

     income or profits a prospective purchaser may earn or that prior purchasers have earned.

  139. Therefore, Defendants’ acts and practices, as described in paragraph 138, violate the

     Business Opportunity Rule, 16 C.F.R. § 437.6(d), and Section 5(a) of the FTC Act, 15

     U.S.C. § 45(a).

                                          COUNT IV

                               Disclosure Document Violations

  140. In numerous instances in connection with the offer for sale, sale, or promotion of

     business opportunities, Defendants have failed to furnish prospective purchasers with a

     disclosure document and any required attachments within the time period prescribed by the

     Business Opportunity Rule.

  141. Therefore, Defendants’ acts and practices, as described in paragraph 140 above, violate

     the Business Opportunity Rule, 16 C.F.R. §§ 437.2 and 437.3(a), and Section 5(a) of the

     FTC Act, 15 U.S.C. § 45(a).

                                           COUNT V

                    Earnings Claims to Prospective Purchasers Violations

  142. In numerous instances in connection with the offer for sale, sale, or promotion of

     business opportunities, Defendants have made earnings claims to prospective purchasers

     while, among other things: (1) lacking a reasonable basis for the earnings claim at the time

     it was made, (2) lacking written substantiation for the earnings claim at the time it was

     made, and (3) failing to provide an earnings claim statement to the prospective purchasers,


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     as required by the Business Opportunity Rule.

  143. Therefore, Defendants’ acts and practices, as described in paragraph 142 above, violate

     the Business Opportunity Rule, 16 C.F.R. § 437.4(a), and Section 5(a) of the FTC Act, 15

     U.S.C. § 45(a).

                                           COUNT VI

                          General Media Earnings Claims Violations

  144. In numerous instances in connection with the offer for sale, sale, or promotion of a

     business opportunity, Defendants have made earnings claims in the general media while

     failing to state in immediate conjunction with those claims the beginning and ending dates

     when the represented earnings were achieved, and the number and percentage of all

     persons who purchased Defendants’ business opportunity prior to that ending date who

     achieved at least the stated level of earnings.

  145. Therefore, Defendants’ acts and practices, as described in paragraph 144 above, violate

     the Business Opportunity Rule, 16 C.F.R. § 437.4(b), and Section 5(a) of the FTC Act, 15

     U.S.C. § 45(a).

                                           COUNT VII

           Industry Financial, Earnings, or Performance Information Violations

  146. In numerous instances in connection with the offer for sale, sale, or promotion of a

     business opportunity, Defendants have disseminated industry financial, earnings, or

     performance information while lacking written substantiation demonstrating that the

     information reflects, or does not exceed, the typical or ordinary financial earnings, or

     performance experience, of purchasers of the business opportunity being offered for sale.

  147. Therefore, Defendants’ acts and practices, as described in paragraph 146 above, violate

     the Business Opportunity Rule, 16 C.F.R. § 437.4(c), and Section 5(a) of the FTC Act, 15


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     U.S.C. § 45(a).

             VIOLATIONS OF THE CONSUMER REVIEW FAIRNESS ACT

  148. The CRFA defines “covered communication” as “a written, oral, or pictorial review,

     performance assessment of, or other similar analysis of, including by electronic means, the

     goods, services, or conduct of a person by an individual who is party to a form contract

     with respect to which such person is also a party.” 15 U.S.C. § 45b(a)(2).

  149. The CRFA defines “form contract” to mean “a contract with standardized terms (i) used

     by a person in the course of selling or leasing the person’s goods or services; and

     (ii) imposed on an individual without a meaningful opportunity for such individual to

     negotiate the standardized terms.” 15 U.S.C. § 45b(a)(3).

  150. Subsection (b) of the CRFA renders void any provision of a form contract if such

     provision prohibits or restricts the ability of an individual who is a party to the form

     contract to engage in a covered communication. 15 U.S.C. § 45b(b)(l).

  151. The CRFA prohibits any person from offering a form contract containing a provision

     described as void in subsection (b) of the CRFA. 15 U.S.C. § 45b(c).

  152. Pursuant to the CRFA, a violation of subsection (c) of the CRFA shall be treated as a

     violation of a rule defining an unfair or deceptive act or practice prescribed under Section

     18(a)(1)(B) of the FTC Act, 15 U.S.C. § 57a(a)(l)(b), and the FTC shall enforce the CRFA

     in the same manner, by the same means, and with the same jurisdiction, powers, and duties

     as the FTC Act. 15 U.S.C. § 45b(d).

  153. Defendants have offered form contracts, as that term is defined in the CRFA. 15 U.S.C.

     § 45b(a)(3).




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                                          COUNT VIII

                                     Violations of the CRFA

  154. In numerous instances, as described in paragraphs 45 to 51 and 105 to 106, Defendants

     have offered, in the course of selling their business opportunities, form contracts containing

     provisions that prohibit or restrict the ability of an individual who is a party to the form

     contract to engage in a covered communication.

  155. Defendants have thereby violated the CRFA, 15 U.S.C. § 45b(c).

                                           COUNT IX

                                         Relief Defendant

  156. Relief Defendant Amanda Rozenfeld has received, directly or indirectly, funds or other

     assets from Defendants that are traceable to funds obtained from Defendants’ purchasers

     through the unfair or deceptive acts or practices described herein.

  157. Relief Defendant is not a bona fide purchaser with legal and equitable title to Defendants’

     purchasers’ funds or other assets, and Relief Defendant will be unjustly enriched if she is

     not required to disgorge the funds or the value of the benefit she received as a result of

     Defendants’ unfair or deceptive acts or practices.

  158. By reason of the foregoing, Relief Defendant holds funds and assets in constructive trust

     for the benefit of Defendants’ purchasers.

                                     CONSUMER INJURY

  159. Consumers are suffering, have suffered, and will continue to suffer substantial injury as a

     result of Defendants’ violations of the FTC Act, the Business Opportunity Rule, and the

     CRFA. Absent injunctive relief by this Court, Defendants are likely to continue to injure

     consumers and harm the public interest.




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                                     PRAYER FOR RELIEF

        Wherefore, the FTC requests that the Court:

        A.      Enter a permanent injunction to prevent future violations of the FTC Act, the

 Business Opportunity Rule, and the CRFA by Defendants.

        B.      Grant temporary and preliminary injunctive and ancillary relief as may be

 necessary to avert the likelihood of consumer injury during the pendency of this action and to

 preserve the possibility of effective final relief, including temporary and preliminary injunctions,

 an order freezing assets, immediate access to Defendants’ business premises, and the

 appointment of a receiver.

        C.      Award monetary and other relief within the Court’s power to grant.

        D.      Award any additional relief as the Court determines to be just and proper.

                                               Respectfully submitted,




          October 9, 2024
 Dated: ____________________

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